                      4:14-bk-14997 Doc#: 1 Filed: 09/16/14 Entered: 09/16/14 14:23:46 Page 1 of 7
Bl Official Fonn I 04/13
                                      UNrTED STATllS BANKlttJPrCY COURT

                             Eastern and Western District of Arkansas
 Name of Debtor (if individual, mer Last, Finl. Middle):                                        Nne of Joint Debeor (Spome) (Liit, First. Middle):

                                                                                                All Oda t i . - med by the Joint Debtor in the last 8 years
                                                                                                (include mmied. mlidcn, IDd tnllle        ->=
 Last four digils of Soc:. Sec. or lndividllll·Taxpayer l.D. (ITIN)JComplete ElN                Last four dips of Soc:. Sec. or lndividllll-Taxpayer l.D. (111N)IComplete ElN
 (if more than one, ma all):                                                                    (if more lblD   one,.._ all):
 Snet Ac:ldmss of Debtor (No. and Street, City, and Slate):                                     Sam Addlaa of Joint Debeor (No. IDd Street, City, and S18tc):
 4812 N Cypress St                                                                              4812 N Cypress St
 North Little Rock AR                                                                           North Litlle Rock AR

 County of Residence or ofthe Principal Place ofBminas:                                         County ofRaidmce or af the Principml Place afBusiness:

                                                                                                Mailing Addnss of      loilft. .             ·
                                                                                                                                          ~ addlal):
                                                                                                                          EAST & WEST DISTS OF AR


                                                                         CODE                                                    SEP 16 2014
 Location of Principll ASlels of Business Debtor (if diflienmt fium street addlal above):

                           TyJeefDdW                                           Nlltllre _,....._                                   CM••f~ CMe UMerWldc:•
                        (Form ofOrpaization)                          (Check- box.)                                                    die PeddH II necl (Check -        box.)
                           (Check ... box.)
                                                                      0     Health Care Business                          D        Chlplia-7            0     Chlpler IS Petition for
 Ii!!    Individual (includes Joint Deblon)                           D     Single ASlllt Real Estm. defined in           D        a.peer9                    Recopition of a Foreign
         See Exhibit D  °"pap    1 ofdrisf-.                                11 U.S.C. § 101(518)                          0        Chapecrll                  Main Proceeding
 0       Corpontion (includes LLC mid LLP)                            D     Railroad                                      0        a.peer 12            0     a..,.. IS Petition for
 D       Partnenhip                                                   D     Stockbroker                                   !;21     a.peer 13                  ltecopition of a Foreign
 D       Other (If debtor is not one of the above emities. check      D     Commodity Broker                                                                  Nonmain Proceeding
         this box and state type of entity below.)                    D     CIClll'ing Bank
                                                                            Other
                         Cliapeer 15 DeMen                                        Tn·Esem,t lmdty                                                  NatueefDella
 Cowttry of deblor's center of main intaata:                                    (Check box, ifapplicable.)                                        (Oleck - box.)
                                                                                                                          '21    Della are primarily comumer   0 Della are
                                                                      D    Debtor is a tax-exempt orpnimtion                     debes, defined in 11 U.S.C.     primlrily
 Each countiy in which a ftnian proceeding by, repding. or                 under title 26 of the United S...                     t to 1(1) • "incmml by 111      business c1cb1s.
 against debtor is pending:                                                Code (the Internal Revenue Code).                     individual primarily for a
                                                                                                                                 penonal, fimily, or
                                                                                                                                 hoUlebold purpose."
                                 JIWlla Fee (Check one box.)                                                                         C....... llDellten
                                                                                                Clieck -   lies:
 0       Full Filiq Fee lllllcbed.                                                              0     Debtor in small bulineu debtor a defined in 11 U.S.C. § IOl(S ID).
                                                                                                D     Debtor is not a llDllll businaa debtor• defined in 11 U.S.C. § 10l(S10).
 1;21    Filing Fee to be paid in imlallmcnts (applicable to individuals only). Must llUllch
         signed applicltion for the court's consideration certifyiq dllt the debtor is          Cllleckl!
         unable to pay fee except in imlallmmts. Rule 1006(b). See Official Form 3A.            0     Debtor's._... llCJllCO!•input liquidlled debCs (excluding debls oMCI to
                                                                                                      insiders or aftililla) are lea dim S2.490,92S (~ nbjl!Ct to atQullne"'
 0       Filing Fee waiver requated (applicable to~ 7 individuals only). Must                         °" 4/01116 Ollll nery *-,_,.. ~r').
         lll1llCh signed application fbr the court's consideration. See Official Form 38.
                                                                                                Cllleckd •HlraWe llilnes:
                                                                                                0 A plan is beina filed with this petition.
                                                                                                0 AccepMICCS of the plan were IOlicilcd prepetition fiom one or mon: classes
                                                                                                     of    .   in CCUidllDce with 11 U.S.C. 11
 Statiltkal/AUlilllltradYe la..,..doll                                                                                                                              THIS SPACE IS roa
                                                                                                                                                                    COURT lJlll£ ONLY
 D            Debtor estimates that finds will be available fbr clisln'bution to umecwec1 creditors.
 '1           Deblor estimates that, after any exempt property is excluded mid adminislnltive expemes paid,~ will be no funds available for
              distribution to lllllCICUled creditors.
 Estimated NumberofCrediean
 D             !;21           D                0            D               0               0                0                     0                0
 1-49           S0-99         100-199          200-999      1.000-          5,001-          10,001-          2S,OOI·               50,001·          Over
                                                            s.ooo           10,000          2S,OOO           50,000                100,000          100,000

 Estimated .Aaets
 OI             D             D                D            D               D               D                D                     D                0
 SO to          sso,001 to    SI00,001 to     $500,001      Sl,000,001      SI0,000,001     $50,000,001      SI00,000,001          $500,000,001     More than
 $50,000        Sl00,000      $500,000        to St         toSIO           toS50           toSlOO           toSSOO                to SI billion    SI billion
                                              million       million         million         million          million
 Estimated Liabilities
 D              D             WI               D            D               D               D                D                     D                D
 SO to         SS0,001 to     Sl00,001 to     $500,001      Sl,000,001      $10,000,001     $50,000,001      SI00,000,001          $500,000,001     More thin
 SS0,000       SI00,000       $500,000        to SI         toSlO           toSSO           to SlOO          toSSOO                to SI billion    SI billion
                                              million       million         million         million          million


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                    4:14-bk-14997 Doc#: 1 Filed: 09/16/14 Entered: 09/16/14 14:23:46 Page 2 of 7
Bl (Official Form B (04/13)                                                                                                                                                 Paile 2
 Vel•atary Peddoa
 rrlrU _     _,be ,.,...J,,ted and likd"' eHn cau.)                                 ~°"=l'Ama Ketcherside
                                     All Prier lluknntn C... fllell Wlllllll Lad I Yean Of more 1bm two• .aa:b atditiollll sheet.)
 Location                                                                           CaeNumbcr.                                    Dlltc Filed:
 Where Filed:
 Location                                                                           CaeNumba:                                     Diie Filed:
 Where Filed:
                     Pe-Bukn-..C-F'led llY · - - - Pvt9K er MMate eldlll Delltlrfttmcn1bmone...a.:llldditional sheet)
 Name of Debtor:                                                                    CaeNumber:                                    o.teFiled:

 District:                                                                                       Relatianship:                                       Judp:


                                         EDlbitA                                                                                       EDibitB
 (To be completed if debtor is miuired to file periodic reports (e.g., forms IOK llld                                  (To be compleeed if debeor is an individual
 lOQ) with the Scc:uritics and ExchllnF Commission pursmm to Section 13 or 15(d)                                       whole debts ere prinmily consumer debts.)
 of the Securities Exchange Act of 1934 llld is mpiesting relief under chapter 11 .)
                                                                                                 I, the lttolney fiJr 1hc petitioner nmBed in the forcaoing petition, declare that I have
                                                                                                 informed the petilioaer da (he or lbc) my proceed under cbllptcr 7, II, 12, or 13
                                                                                                 of title 11, United S - Code. 11111 have explained the n=lief llV8iJllblc under cech
                                                                                                 such cbllptcr. I tilr1hcr certify dllt I haft dclivcnd to the debeor the notice ~
                                                                                                 by 11u.s.c.§342(b).
 '1.1    Exhibit A is lltlllchcd and made a part of this petition.
                                                                                                 x
                                                                                                     SNnmnni of"....._ filr 1 - 1 )               (Bot..\


                                                                                       EdllibitC
 Docs the debtor own or have poacssion of any property that poees or is ellepd to polC a tbrat of imminent llld idmtifilblc harm to public health or safety?

 0      Ycs, and Exhibit C is lltlllchcd llld made a part of this petition.

 21     No.


                                                                                       ExblbitD
 (To be completed by CVCI)' individual debtor. If a joint petition is filed, each spo111e mllllt complete llld llt1ach a aepll'ate Ex:lubit D.)

 0      Exhibit D, completed llld signed by the dcbtor, is lbched 11111 madc a pll'l ofthis petition.

 If this is a joint petition:

  Ill   Exhibit D, also c:omplcted and signed by the joint debtor, is allllCbed and made a pmt ofthis petition.



                                                                     la,.,_dea R........ dleDelnlr'-V-
                                                                             (Check 1111)' applicable box.)
              lit      Debtor has been domiciled or has had a residence, principal place of businell, or principel wets in this Disttict for 180 days immediately
                       pmlOdina the dale of this petition or for a longer pmt of IUCh 180 days dwn in any other DisDict.

              0        There is a banbuptcy cw conccming debeor's affiliate, aeneraJ       .-mer. or J*b•lhip pendina in this District.
              0        Debtor is a debtor in a foreign proceeding md has its principel place of businml or principll -   in the United States in this Dislrict, or has
                       no principel place of business or - a in the United Stlltes but is a dcfendlnt in m a:tion or proceeding [in a federal or state cowt] in this
                       District, or the inlmm of the parties will be served in~ 1D the relief sou8ht in this District.


                                                    Cerdftcadea lly a DeMer Wiie Relldes as a Tewt fllRr ..drMW Preperty
                                                                         (Check Ill llPPliclble boxes.)

              0           Landlord has ajudgmcntagainlt the debtor for pun         1im of debeor's nssideace. (lfboxcbeclr.ed, complete the following.)



                                                                                                 (Name of landlord that obblined judament)



                                                                                                 (Address oflandlon:l)

              0           Debtor claims that under applicable nonb8llknlptcy law, there ere c i n : • - under which the debtor 'WOUid be permitted to cure the
                          entire mondlly dmult dllt pve rise to the jllllglnn for pmaasion. after the judgment for pc 11 JPim w emml, and

              0           Debtor has included with this petition the deposit with the cowt of lllY R!llC that would become due durin8 the ]().day period after the filing
                          of the petition.

              0           Debtor certifies that he/she has served the Landlon:l with this certification. ( 11 U.S.C. § 362(1)).
                4:14-bk-14997 Doc#: 1 Filed: 09/16/14 Entered: 09/16/14 14:23:46 Page 3 of 7
                                                                                                                                                                                   e3




I declare under pellllty of perjury !hit the infonnlllion pnwided in this petition is tnae   I declare under penalty of perjury !hit the infGnnalion pnwided in this petition is true
andconect.                                                                                   lllCI cona:t, !hit I - the finip ••aeullllitre of a debklr in a fcnip proc:eedin&
[If petitioner is m individUll 'wllole debts are prinsily ecJllUlll!r debts lllCI Im         and !hit I - aulhoriml to file this petilion.
chosen to file under dJaptcr 7) hm awme !hit I may puceed under c:blpeer 7, It, 12
                                                                                             (Cbect only . . bm.)
or 13 of title 11, United States Code, undellland the relief 8Ylilable under each such
cbapcer, and choose to pruceed under clllplier 7.
[If no attnmey 1epn:a:u1s me and no bmlaupecy petition pnpmer sigm the petition] I
                                                                                             0    I nqliest relief in accaulwe with cblptcr I !I of tide 11, United SClltes Code.
                                                                                                  Certified copies of the docemalta required by II U.S.C. § 151 !I are attached.
have obcained and reed the notioe requiaed by 11 U.S.C. f 342(b).
                                                                                             D   Pua-..ntto 11u.s.c . 11m,1 aequestreliefinaccordance with the
                                                                                                 chlpeair af lide 11 apecified in this pditiun. A a:rtiJied copy of the
                                                                                                  order ....... recupition of the flllleisn main proeeedillg is allached.

                                                                                             x

                                                                                                 (Printed Name ofFcnip Itepmeulative)

     Telephone Number (if not aqweiiiml by lltomey)
      09104/2014
                                                                                                         ........,.,Ne.A...._,lleUnl*J..._Pnptrer
x                                                                                            I decl8re under penalty of perjury !hit: (I) I am a banknapll:y petition preparer as
     Signatuae of Aaumey fur Deblol(s)                                                       defined in 11 U.S.C. f 110; (2) I paepered this document fur compensation and have
                                                                                             pnwided the dcbtor with a copy of this document and the nocices and information
     Printed Name of Aaumey fur Delmr(s)                                                     requiaed under 11 U.S.C. H 1 IO(b), I IO(b). and 342(b); and, (3) if rules or
                                                                                             guidelines have bem ~ J11111UB to 11 U.S.C. § I IO(b) llCUing a maximum
     Firm Name                                                                               fee fur ICnices dw..... by~ petition prepmen, I have pen the debtor
                                                                                             notice of t h e _ . . amiunt bdin pepsins any doclmmll fur filing fur a debtor
                                                                                             or acceptina any fee 6 - the debtor, •required in that section. Official Form 19 is
                                                                                             allached.


     Telephone Number                                                                            Primed Name and tide, ifany, of Bllllallpk:y Pdition Preparer


                                                                                                 SociU-Security number (If the ~ petition prepan:r is not an individual,
•In a case in which I i07(b)(4)(D) applies, this sigmUe altu cunstmites a                        I I * die Social-Security aanber of the officer, principll, aaponsible person or
~ficationthattheattumeylmnoknowlmp~minquiaylhlttheinformation                                    smta-ofthe banknapll:ypetition pr...-er.) (Required by ll U.S.C. § llO.)
in the schedules is incorrect.



I declare under penalty of peajuay that the infarmetion pnwided in this petition is true         Addrea
and conect, and !hit 1 have been audaimd to file this petition Oil behllf of the
debtor.
                                                                                             x
The debtor requesll the relief in accordance with the chlpler of title I I, United Slllla        Sipattn
Code, specified in this petition.

x
     Signature of Amborimd Individual
                                                                                             Sipltuae of~ petition pnpmer or officer, principal, responsible person, or
     Prinlcd Nmne of Authorized Individual                                                   pmtner wlae Social-Security llUlllber is provided above.

     Title of Authorized Individual                                                          Names and Socill-Security mmbers of all Olber individuals who prepared or usisted
                                                                                             in prepsing this doct...,. unlm the llldauptcy petition preparer is not an
                                                                                             individuel.

                                                                                             If more than one penon paepered this document, attach additional sheets conforming
                                                                                             to the appropriate ofticill farm fur mch penon.

                                                                                             A ,,_. i1f*7 pdliale fllTPIJlfW"'I fa/lwe IO c°"""1 willl dw prY1Yisiofll of tit# I I tl1td
                                                                                             dw F«lmttl /Wa of . . .      "'*'
                                                                                             both. JI U.S.C. JJD; 18 U.S.C. 156.
                                                                                                                                 l'l'OC«ltln _,, ,..,Wt lie fl- Of' iJlrprlMJnmenl or
4:14-bk-14997 Doc#: 1 Filed: 09/16/14 Entered: 09/16/14 14:23:46 Page 4 of 7


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                                                                                       U.S. BANKRUPTCY COURT
                                                                                      EAST & WEST DISTS OF AR
 BID (Official Form I, Exhibit 0)(12/09)
                                                             SEP 16 2014
                        UNITED STATES BANKRUPTCY COURTJEANROLFS,CLERKby-1?:::2_



           In re    Du. sf.J, /42.LLrpd.e                            Case No.- - - - - -
                                Debtor                                            (if known)




      EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                      CREDIT COUNSELING REQUIREMENT

          Warning: You must be able to check truthfully one of the five statements regarding
 credit counseling listed below. lfy~u cannot do so, you are not eligible to file a bankruptcy
 case, and the court can dismiss any case you do file. If that happens, you will lose whatever
 filing fee you paid, and your creditors will be able to resume collection activities against
 you. If your case is dismissed and you file another bankruptcy case later, you may be
 required to pay a second filing fee and you may have to take extra steps to stop creditors'
 collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
 must complete andfile a separate Exhibit D. Check one ofthe five statements below and attach
 any documents as directed.

           iii". Within the 180 days before the filing of my bankruptcy case, I received a briefing
 from a credit counseling agency approved by the United States trustee or bankruptcy
 administrator that outlined the opportunities for available credit counseling and assisted me in
 performing a related budget analysis, and I have a certificate from the agency describing the
 services provided to me. Attach a copy ofthe certificate and a copy ofany debt repayment plan
 developed through the agency.

           a 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
 from a credit counseling agency approved by the United States trustee or bankruptcy
 administrator that outlined the opportunities for available credit counseling and assisted me in
 performing a related budget analysis, but I do not have a certificate from the agency describing
 the services provided to me. You must file a copy of a certificate from the agency describing the
 services provided to you and a copy ofany debt repayment plan developed through the agency
 no later than 14 days after your bankruptcy case is filed
4:14-bk-14997 Doc#: 1 Filed: 09/16/14 Entered: 09/16/14 14:23:46 Page 5 of 7




                                                                                                 Page2
   8 ID(Official Fonn I, Exh. 0)(12/09)-Cont.


         0 3. I certify that I requested credit counseling services from an approved agency but
 was unable to obtain the services during the seven days from the time I made my request, and the
 following exigent circumstances merit a temporary waiver of the credit counseling requirement
 so I can file my bankruptcy case now. [Summarize exigent circumstances here.}




        If your certification is satisfactory to the court, you must still obtain the credit
 counseling briefing within the first 30 days after you file your bankruptcy petition and
 promptly file a certificate from the agency that provided the counseling, together with a
 copy of any debt management plan developed through the agency. Failure to fulfill these
 requirements may result in dismissal of your case. Any extension of the 30-day deadline
 can be granted only for cause and is limited to a maximum of 15 days. Your case may also
 be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
 without first receiving a credit counseling briefing.

          a4. I am not required to receive a credit counseling briefing because of: [Check the
 applicable statement.] [Must be accompanied by a motion for determination by the court.}

                  0 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
          illness or mental deficiency so as to be incapable of realizing and making rational
          decisions with respect to financial responsibilities.);
                    aDisability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
          extent of being unable, after reasonable effort, to participate in a credit counseling
          briefing in person, by telephone, or through the Internet.);
                  0 Active military duty in a military combat zone.

          a 5. The United States trustee or bankruptcy administrator has determined that the credit
 counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and
 correct.


                                                               ~?2
                                        Signature of Debtor:---~~
                                                            ~--__..,~..---
                                                           .....        ___L " - - - -

                                        Date:   'T- /k - I</




                                                                                                         . ' . 1.•   ;j.f~
4:14-bk-14997 Doc#: 1 Filed: 09/16/14 Entered: 09/16/14 14:23:46 Page 6 of 7



                                                                                              FILED
                                                                                    U.S. BANKRUPTCY COURT
                                                                                    EAST & WEST DISTS OF AR
BID (Official Fonn I, Exhibit D) (12/09)
                                                                                      SEP 16 2014
                        UNITED STATES BANKRUPTCY COURTEANROLFS,CLERKby-11_



          In re    iJ   l C..O   ~     \(EICH Etl$I DE              Case No.- - - - - -
                               Debtor                                            (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
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administrator that outlined the opportunities for available credit counseling and assisted me in
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services provided to me. Attach a copy of the certificate and a copy ofany debt repayment plan
developed through the agency.

        0 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
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no later than 14 days after your bankruptcy case is filed.
4:14-bk-14997 Doc#: 1 Filed: 09/16/14 Entered: 09/16/14 14:23:46 Page 7 of 7




                                                                                                  Page2
  BID (Official Fonn I, Exh. D) (12109)-Cont.


        LJ 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.}




       If your certification is satisfactory to the court, you must still obtain the credit
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         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 LJ Active military duty in a military combat zone.

       LJ 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                       Signature of   Debtor:~ ~. . .J.~:l.g~
                                       Date:    C\· \ V · It./
